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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION



  ERIN ALDRICH, LONDA BEVINS,
  JESSICA JOHNSON, AND BEATA
  CORCORAN, individually and on behalf of
  all others similarly situated,

                    Plaintiffs,
                                                     Case No. 1:20-cv-02310-JRS-MPB
          vs.

  NATIONAL COLLEGIATE ATHLETIC
  ASSOCIATION, THE BOARD OF                          Judge:    Hon. James R. Sweeney II
  GOVERNORS OF THE NATIONAL
  COLLEGIATE ATHLETIC ASSOCIATION,
  and JOHN REMBAO,

                    Defendants.

         REPLY IN SUPPORT OF MOTION TO POSTPONE SCHEDULING
   CONFERENCE, HOLD L.R. 16-1(C)(1) IN ABEYANCE, AND/OR STAY DISCOVERY

          The National Collegiate Athletic Association (“NCAA”) and its Board of Governors’

  (“the Board”) (collectively, the “NCAA Defendants”) submit this reply in support of their

  motion to postpone the scheduling conference and hold Local Rule 16-1(c)(1) deadlines in

  abeyance, or in the alternative to stay discovery pending resolution of the NCAA Defendants’

  anticipated motion to dismiss the Second Amended Complaint. Plaintiffs oppose the motion and

  argue that the Court should proceed because they believe their claims will survive any motion to

  dismiss. But Plaintiffs mischaracterize which issues have been already decided in this case and

  which issues will be presented to the Court in the upcoming motion to dismiss. And they fail to

  explain how they will be prejudiced by postponing the scheduling conference and staying

  discovery until the resolution of the motion to dismiss. The NCAA Defendants respectfully

  submit that the Court should reject these arguments and wait to set a scheduling conference until

  after deciding the NCAA Defendants’ motion to dismiss—a decision that could materially affect

  the contours of this case and any resulting discovery. The parties have requested that the



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  briefing for the motion to dismiss be completed on January 8, 2021 so that motion will be ready

  for resolution in a matter of months. If the Court proceeds with a scheduling order or a Case

  Management Plan (“CMP”) before the pleadings are resolved, the NCAA Defendants

  respectfully request that the Court stay discovery.

  I.      WAITING UNTIL THE PLEADINGS ARE RESOLVED WOULD BE
          EFFICIENT AND COULD SAVE JUDICIAL RESOURCES

          It makes sense for the Court to hold the scheduling conference in abeyance and wait to

  receive the CMP until after it hears and decides the NCAA Defendants’ motion to dismiss.

  Plaintiffs’ arguments to the contrary are not persuasive.

          First, Plaintiffs are simply incorrect that the NCAA Defendants’ motion could not

  dispose of the case in its entirety. The NCAA Defendants’ motion will assert multiple grounds

  that would dispose of the entire case—the same grounds asserted in the Northern District of

  California prior to the case being transferred to this Court due to lack of jurisdiction there. These

  grounds are lack of standing, statute of limitations, and failure to state a claim. The Northern

  District of California did not rule on any of these bases for dismissal with respect to the NCAA

  Defendants. Instead, that court concluded it lacked personal jurisdiction over the NCAA

  Defendants, dismissed the case as to them, transferred the case to this Court, and did not reach

  the current Defendants’ other grounds for seeking dismissal.

          The Northern District of California ruled on the motion to dismiss filed by another

  defendant in that case, John Rembao, and rejected Rembao’s statute of limitations arguments.

  This ruling for a different defendant does not bind the NCAA Defendants. It does not have any

  preclusive effect or even persuasive value, because it relied on both law and facts that do not

  apply to the NCAA Defendants, as set forth in more detail below in Section II.A. For example,

  the Northern District of California applied California’s choice of law rules in deciding Rembao’s

  motion to dismiss, whereas this Court will apply Indiana’s choice of law rules, which lead to a

  different outcome. Further, the Northern District of California found that Rembao participated in

  the University of Texas investigation and held that his participation facially supported a tolling


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  argument by two Plaintiffs, but there is no corollary allegation that the NCAA Defendants

  participated in that investigation. Because the Northern District of California’s analysis of the

  statute of limitations arguments advanced by Rembao applied only to him (and not the NCAA

  Defendants), it has no bearing on the forthcoming motion by the NCAA Defendants.

          Second, it would, of course, be easy for Plaintiffs and the NCAA Defendants to fill out

  the proposed CMP form and present it to the Court. The question is whether entering a CMP at

  this stage would be a worthwhile use of the Court’s time. The NCAA Defendants respectfully

  suggest that it would not be. For the reasons stated below, a motion to dismiss could dispose of

  the case in its entirety, or at the very least result in substantially narrowed claims if the Court

  were to agree, for example, that certain claims are time-barred or certain Plaintiffs and associated

  putative subclasses should be dismissed and/or struck. Therefore, it would be most efficient for

  the Court to enter a CMP after the motion to dismiss is adjudicated. Furthermore, if the Court

  approves the proposed briefing schedule submitted by the parties, there will be no substantial

  delay or actual prejudice to Plaintiffs, as all briefing on the motion to dismiss will be submitted

  on January 8, 2021.
          Plaintiffs quote extensively from the Southern District of Indiana’s Attorney Handbook’s

  discussion of the CMP, arguing that the Handbook’s preference that the parties conduct

  discovery without supervision from the Court means, for some reason, that a scheduling

  conference should proceed. Opp. at 5-6. But Plaintiffs ignore the Handbook’s stated preference

  that the CMP result in setting a trial date “only one time.” Attorney’s Handbook at 21, U.S.

  District Court for the Southern District of Indiana (updated Sept., 2019),

  https://www.insd.uscourts.gov/sites/insd/files/Attorney%20Handbook.pdf (“Very often the court,

  in consonance with the case management plan and in a particular case, will set a case for trial

  only one time. This deadline places significant responsibilities on counsel to adhere diligently to

  pretrial schedules.”) In light of the Handbook’s preference for setting a trial date only one time,

  the NCAA Defendants respectfully suggest that the requirement to submit a CMP should be held

  in abeyance, and that the scheduling conference should not be held, until the pleadings are


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  resolved and the CMP can be set without needing to account for potentially multiple, months-

  long rounds of dismissal and amended pleadings. Doing so would avoid the Court needing to set

  the case for trial more than once and conserve both the Court and the parties’ resources.

  II.     A DISCOVERY STAY MAKES SENSE HERE

          Discovery stays are within the discretion of the District Court, and courts often exercise

  that discretion to stay discovery where a motion to dismiss has been filed. Dillinger, L.L.C. v.

  Elec. Arts, Inc., No. 1:09-cv-01236-SEB-JM, 2010 WL 1945739, at *1 (S.D. Ind. May 11, 2010).

  “A stay of discovery is appropriate where the motion to dismiss can resolve the case, where

  ongoing discovery is unlikely to produce facts necessary to defeat the motion, or where the

  motion raises a potentially dispositive threshold issue, such as a challenge to the plaintiff's

  standing.” Duneland Dialysis LLC v. Anthem Ins. Cos., Inc., No. 4:09-CV-36-RLM-PRC,

  2010 WL 1418392, at *2 (N.D. Ind. Apr. 6, 2010) (internal quotation and citation omitted).

  Here, all three circumstances are true: the motion to dismiss can resolve the entire case,

  discovery is unlikely to produce facts that can defeat the motion to dismiss, and the motion will

  raise standing, statute of limitations, and other potentially dispositive threshold issues.

  Accordingly, the Court should grant the motion and stay discovery.
          A.        A Stay Could Simplify the Issues Before the Court

          Plaintiffs contend that a stay will not simplify or streamline the issues in the case because

  “the NCAA does not have a basis for dismissing all claims against all Plaintiffs in one stroke.”

  (ECF No. 120 at 11 (“Opp.”).) It is unclear why Plaintiffs make this argument. It is simply

  incorrect. The NCAA has asserted and will assert that Plaintiffs’ Second Amended Complaint

  suffers from multiple threshold deficiencies, which taken together would eliminate all parties and

  causes of action from the case. The NCAA Defendants will argue that the statute of limitations

  results in the dismissal of three of the four Plaintiffs (each of whom bring claims based on

  decades-old allegations), and that lack of standing will result in the dismissal of all injunctive

  relief claims for three of the four Plaintiffs (the former student-athletes) and all claims for the

  fourth Plaintiff (a current student-athlete who alleges no future injury). These two arguments


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  taken together result in the dismissal of the entire case. In addition, Defendants have more

  arguments to defeat various claims for failure to state a claim. Those arguments need to be

  analyzed by each cause of action, but they provide a further basis for the dismissal of the entire

  Complaint. The NCAA Defendants asserted all of these arguments before the Northern District

  of California, but that court did not rule on them because it did not have jurisdiction and so

  dismissed the case against the NCAA Defendants for lack of personal jurisdiction and transferred

  the case to this Court.

          It is true, as Plaintiffs claim in their opposition, that the Northern District of California

  denied Rembao’s motion to dismiss and rejected Rembao’s statute of limitations argument. But

  that is irrelevant to this Court’s analysis because that court never ruled on statute of limitations

  with respect to the NCAA Defendants. Indeed, Plaintiffs concede that the Northern District of

  California did not decide the statute of limitations issues as to the NCAA. (Opp.at 4 n.2.) See

  Gertz v. Robert Welch, Inc., 680 F.2d 527, 532 (7th Cir. 1982) (law of the case only applies to

  issues that have been “litigated and decided”).

          The parties will have the opportunity to brief this issue more fully in connection with the

  NCAA Defendants’ motion to dismiss and, as Plaintiffs acknowledge, it is premature to decide it

  now. (Opp. at 2 (“[T]he preclusive effect of Judge Davila’s ruling need not be resolved today”).)

  But, in short, the NCAA is not bound by the Northern District of California’s decision on

  Rembao’s statute of limitations arguments—nor could it be, as the Northern District of

  California concluded there was no personal jurisdiction over the NCAA. (ECF No. 72 at 21.)

  Furthermore, the Northern District of California decided the statute of limitations argument on a

  different legal basis that is not present in this Court. In the motion to dismiss, the NCAA intends

  to raise the following arguments:

          First, in ruling on the NCAA’s motion to dismiss, this Court will apply different law than

  what the Northern District of California applied in ruling on Rembao’s motion to dismiss. The

  Northern District of California applied California’s choice of law rules, which led to the

  application of Arizona tolling law for Aldrich’s claims and California tolling law for Bevins and

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  Johnson’s claims. (ECF No. 72 at 22-24; id. at 25.) As the NCAA will explain in its motion to

  dismiss, this Court applies Indiana’s choice of law rules, which require application of Indiana

  law—not Arizona or California law—to the statute of limitations analysis. See Autocephalous

  Greek–Orthodox Church of Cyprus v. Goldberg & Feldman Fine Arts, Inc., 717 F. Supp. 1374,

  1385 (S.D. Ind. 1989), aff’d, 917 F.2d 278 (7th Cir. 1990). In short, the Northern District of

  California found the statute of limitations may not have run for Aldrich through an application of

  an Arizona state statute tolling the statute of limitations for people of “unsound mind,” but that

  Arizona state statute will not apply under Indiana law in this forum. Similarly, the Northern

  District of California found that Bevins and Johnson’s claims were potentially timely based on

  California’s equitable tolling doctrine—which also does not apply in this forum. The application

  of Indiana law to the statute of limitations issues raised by the NCAA Defendants will require a

  different analysis by this Court. As a result, Judge Davila’s decision on the statute of limitations

  for Rembao is irrelevant in this case as to the NCAA Defendants.

          Moreover, the relevant allegations regarding the NCAA’s conduct are different from the

  relevant allegations about Rembao’s conduct. The Northern District of California hinged its

  equitable tolling decision as to Bevins and Johnson on the “obvious inference” based on the

  allegations in the First Amended Complaint “that Defendant Rembao knew about and maybe

  even participated in the manipulation” inherent in UT Austin’s investigation. (ECF No. 72

  at 27.) The Court based this assessment on allegations that Rembao admitted to inappropriate

  touching but was still “cleared” in the UT report, suggesting that he had been a “participant” in

  the alleged whitewashing. (Id.) There are no comparable allegations in the SAC as to the

  NCAA Defendants and so this Court will need to employ different analysis with the NCAA

  Defendants than the Northern District of California employed with Rembao. The result of this

  Court’s analysis of the statute of limitations claim for the NCAA Defendants need not and

  should not follow the same path as the Northern District of California’s analysis of the claims by

  Bevins and Johnson.



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          In sum, this Court is not bound by the Northern District of California’s holding on the

  limitations period, meaning statute of limitations is a potentially threshold issue that could

  eliminate the former student-athlete Plaintiffs’ claims in their entirety leaving only a case against

  current student-athlete Corcoran who alleges no abuse or threat of abuse.

          The NCAA Defendants will also raise standing, another threshold issue that could

  eliminate the former student-athlete Plaintiffs’ claims for injunctive relief, and Plaintiff

  Corcoran’s claims in their entirety. The three former student-athlete plaintiffs have no standing

  to assert claims for injunctive relief because there is no threatened injury to them as former

  student-athletes. And current student-athlete plaintiff Corcoran has no standing because she

  alleges no harm and no threat of harm. She is simply a rower at Princeton without sufficient

  standing to assert her claims.

          Finally, the NCAA Defendants will raise the Board of Governors’ capacity as an entity to

  be sued under Rule 17(b). A ruling in the NCAA’s favor on any of these issues could eliminate

  parties from the case or substantially narrow the issues before the Court. For example, if

  Defendants prevail on their standing challenge, then injunctive relief will no longer be a live

  issue in the case. Conversely, if Defendants prevail on statute of limitations, the issue of Coach

  John Rembao’s conduct and the Rembao Class’s claims involving his conduct will be eliminated

  from the case. And if the NCAA Defendants prevail on their challenge to the Board of

  Governors’ capacity to be sued, for example, that will eliminate an entire area of motion practice

  and discovery—that is, the liability of the NCAA Board of Governors. Accordingly, a favorable

  ruling on the motion to dismiss could significantly streamline the issues before the Court.
          B.        Plaintiffs Will Not Be Prejudiced by a Stay

          Plaintiffs argue strenuously that they will be prejudiced by a discovery stay. But in

  support of this argument, they argue merely that (1) their claims involve important policy issues,

  (Opp. at 10), and (2) the NCAA’s arguments are factual, (id. at 10-11). Neither argument

  establishes prejudice: that is, that Plaintiffs will be in any way “tactically disadvantaged” or

  otherwise worse off because of a stay. Madbak v. Anthem Ins. Cos. Inc., No. 1:16-cv-03197-


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  SEB-MPB, 2017 WL 5075262, at *1 (S.D. Ind. May 23, 2017) (Brookman, J.) (internal citation

  omitted).

          First, Plaintiffs contend that the serious nature of the policy issues involved, and their

  accompanying claim for injunctive relief, means that they would be prejudiced by a stay. The

  NCAA Defendants agree that sexual abuse is an extremely serious public policy issue. But

  Plaintiffs do not contend that they intend to move for emergency relief and do not point to any

  specific need that they have for discovery now beyond the fact that they would like to proceed to

  discovery. In support of their argument, Plaintiffs cite U.S. ex rel. Robinson v. Indiana Univ.

  Health Inc., No. 1:13-cv-02009-TWP-MJD, 2015 WL 3961221, at *6 (S.D. Ind. June 30, 2015).

  But in that case, the Court did not rely solely on the importance of the policy issues involved to

  find that the plaintiff would be prejudiced by a discovery stay: rather, the Court found that a

  discovery stay would prejudice the plaintiff because the court “already set deadlines for

  discovery, for dispositive motions, and for trial,” and had “little inclination to extend these

  deadlines.” Plaintiff thus “face[d] serious pressure to prepare her case in an expeditious

  manner,” id., and would actually, tangibly be prejudiced in prosecuting the action. Similarly,

  Red Barn Motors, Inc. v. Cox Enterprises, Inc., No. 1:14-cv-01589-TWP-DKL,

  2016 WL 1731328, at *3 (S.D. Ind. May 2, 2016), cited by Plaintiffs for the proposition that the

  Court should consider prejudice to the judicial system as a whole, found such prejudice because

  the case was already set for trial, and “[e]ven a short stay of discovery would seem to jeopardize

  the case management deadlines and trial setting.” Id.

          This case is differently situated from Robinson and Red Barn Motors. Here, no deadlines

  have been set except for motion to dismiss briefing where there is a requested briefing schedule.

  Further, as to three of the four plaintiffs, the allegations are based on conduct from 1996 to 2000,

  and for Corcoran there is no allegation of any misconduct by any coach. That means that there is

  not an issue of time sensitivity in terms of discovery, nor are there any discovery or trial

  deadlines. There is simply no basis for proceeding with a scheduling conference, CMP, and



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  discovery prior to the Court deciding what, if any, issues will go forward in this litigation so that

  deadlines can be structured around the scope of any remaining case.

          Second, Plaintiffs cannot seriously contend that they need the discovery to respond to

  Defendants’ motion to dismiss in light of what Plaintiffs claim are factual disputes in the

  anticipated motion (and tellingly, they do not seem to: they contend that they will be prejudiced,

  but make no argument that they need discovery to respond to the pending motion to dismiss).

  (Opp. at 9.) Plaintiffs essentially dispute that the NCAA Defendants’ motion to dismiss can be

  decided as a matter of law and argue that it instead involves factual disputes that are

  inappropriate for resolution on a motion to dismiss. Id. Plaintiffs are free to make an argument

  to that effect in opposing the NCAA’s motion to dismiss. But Plaintiffs do not require any

  discovery to make that argument in the first place. Gekas v. Vasiliades, No. 10-3066,

  2012 WL 5948679, at *1 (C.D. Ill. Nov. 28, 2012) (holding a discovery stay was appropriate

  where plaintiff contended he needed discovery to counter a statute of limitations argument

  presented in a motion for judgment on the pleadings, as, like in a motion to dismiss under Rule

  12(b), plaintiff was required to “rely on his allegations” in defending against the motion);

  Dillinger, L.L.C., 2010 WL 1945739, at *1 (staying discovery where plaintiff expressed

  confidence that they will prevail in the motion to dismiss, as neither “this motion nor this judge

  should address the merits of the parties' arguments made there,” and although plaintiff contended

  they would be prejudiced by a stay, they did not contend that they needed discovery to respond

  to the pending motion).

          The NCAA Defendants’ motion to dismiss will not (and cannot) argue that Plaintiffs’

  claims should not proceed because Plaintiffs cannot prove the substance of their fact allegations

  through discovery. Rather, the NCAA Defendants’ motion will contend that even if Plaintiffs

  proved their allegations, they would not be entitled to relief. Plaintiffs mischaracterize the

  dispute between themselves and the NCAA Defendants in claiming otherwise. To take one

  example, the NCAA Defendants previously moved to dismiss the vicarious liability claims

  because the kind of facts that Plaintiffs allege regarding the NCAA’s control over coaches—that

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   is, the ability to impose post-conduct discipline and set general standards—does not create an

   agency relationship as a matter of law. (ECF 55 at 37; ECF 65 at 27.) The Court can agree with

   that argument or it can disagree; but whether Plaintiffs can, through discovery, prove the

   substance of their allegations that the NCAA has the ability to impose post-conduct discipline

   and set general standards should not impact the Court’s resolution of the legal question of

   whether that ability creates an agency relationship in the first place.

           The Supreme Court, in deciding the Iqbal and Twombly cases, explained that the reason

   to insist that a plaintiff plead facts showing a plausible entitlement to relief at the 12(b)(6) stage

   is to prevent costly discovery: “when the allegations in a complaint, however true, could not

   raise a claim of entitlement to relief, this basic deficiency should be exposed at the point of

   minimum expenditure of time and money by the parties and the court.” Bell Atl. Corp. v.

   Twombly, 550 U.S. 544, 558 (2007) (internal quotation and alteration omitted). Put differently,

   if a court believed that discovery would reveal evidence suggesting a plausible entitlement to

   relief, it would deny the motion to dismiss. Id. at 556 (“Asking for plausible grounds to infer an

   agreement does not impose a probability requirement at the pleading stage; it simply calls for

   enough fact to raise a reasonable expectation that discovery will reveal evidence of illegal

   agreement.”). The fact that Plaintiffs have failed, three attempts in, to plead facts demonstrating

   a plausible entitlement to relief is not a reason they should get discovery; instead, the very

   purpose behind the Supreme Court’s decisions in Iqbal and Twombly was to prevent such claims

   from surviving to discovery. Plaintiffs accordingly fail to show any prejudice from a stay of

   discovery until the Court can adjudicate the motions to dismiss.
           C.        A Stay Could Significantly Reduce the Burden on the Parties and the Court

           Finally, Plaintiffs’ contention that discovery is unlikely to be burdensome in this case

   does not stand scrutiny. Plaintiffs represent that they “will likely seek information relating to,

   inter alia, the NCAA’s policies and procedures as to sexual abuse and rulemaking, its knowledge

   of abuse by coaches and handling of abuse allegations by schools, and its control of NCAA

   member institutions.” (Opp. at 12-13.) There are almost 1,100 NCAA member institutions.


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   Plaintiffs seek this information over a thirty-year timespan, dating back to 1992. These

   “allegations” and the “temporal scope of the claims” involved makes clear that “this case is

   susceptible to burdensome, costly, and contested discovery.” Ashley W. v. Holcomb, No. 3:19-

   cv-00129-RLY-MPB, 2019 WL 9673894, at *2 (S.D. Ind. Oct. 31, 2019) (Brookman, J.). This

   burden, weighed against the lack of any prejudice to Plaintiffs and the potential that the motion

   to dismiss could dispose of the entire case, if not large swathes of it, favors granting Defendants’

   motion to stay discovery.

   III.    CONCLUSION

           For the foregoing reasons, the Court should put in abeyance the CMP and postpone

   setting the case for a scheduling conference. Alternatively, the Court should stay discovery until

   the pleadings are resolved.




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   DATED: November 2, 2020          FAEGRE DRINKER BIDDLE & REATH LLP



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                                   CERTIFICATE OF SERVICE

           I hereby certify that on November 2, 2020 the foregoing was filed electronically with the

   Clerk of the Court using the Court’s CM/ECF system. Parties may access this filing through the

   Court’s system.


                                                /s/Andrea Roberts Pierson




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